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                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                       Plaintiffs-Appellees,
                                 v.
U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOOK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
       and Research, U.S. Food and Drug Administration; UNITED STATES
   DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
           Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,

                        DANCO LABORATORIES, L.L.C.,
                                        Intervenor-Appellant.

    REPLY IN SUPPORT OF EMERGENCY MOTION UNDER
     CIRCUIT RULE 27.3 FOR A STAY PENDING APPEAL

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                 INTRODUCTION AND SUMMARY

     There is no basis in science or fact for plaintiffs’ repeated claims

that mifepristone is unsafe when used in the manner approved by FDA.

Nor is there any basis in administrative law for the district court’s

unprecedented overriding of FDA’s considered scientific judgment.

Plaintiffs’ claims of widespread harm from the use of mifepristone are

refuted by the reality of mifepristone’s safe use for more than two

decades. And plaintiffs’ novel theory of legally cognizable injury to

doctors rests on a hypothetical and attenuated series of events that

might lead women to seek treatment from them for an exceedingly rare

adverse event. Their allegations fall far short of establishing standing,

let alone irreparable harm from maintaining the status quo pending

appeal. Moreover, plaintiffs are unlikely to succeed on the merits of any

of their claims. All of their arguments about the Subpart H regulations,

the Comstock Act, and the requirements of the FDCA are thoroughly

rebutted in the government’s stay motion, leaving only plaintiffs’

misguided attempts to substitute their views for the science-based

conclusions of FDA.




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     The district court purported (Add.65-66) to be acting in a

restrained manner; but there is nothing modest about upending the

decades-long status quo by blocking access nationwide to a safe and

effective drug. If allowed to take effect, the court’s order will cause

irreparable harm across the country. The laws of every State allow

patients to use mifepristone in some circumstances, reflecting the

importance of a drug that millions of women have relied on to safely

terminate their pregnancies. States also have preserved access to

mifepristone for other purposes, including to help women manage

miscarriages. The district court’s order would impair the interests of

women across the country, supplant the judgments of every State, and

arrogate to itself the power that Congress entrusted to FDA to evaluate

drug safety.

I.   This Court Has Appellate Jurisdiction

     Plaintiffs contend (at 7) that this Court lacks appellate

jurisdiction to review the district court’s order under 28 U.S.C.

§ 1292(a)(1), which allows immediate appeal of orders that have the

practical effect of an injunction. But they cite no case holding that

§ 705 stays are unappealable, for good reason: An order staying even a


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discrete agency action pending judicial review is equivalent to a

preliminary injunction. Courts routinely note that the standard for a

§ 705 stay “is the same as the standard for issuance of a preliminary

injunction.” Monumental Task Comm., Inc. v. Foxx, 157 F. Supp. 3d

573, 586 (E.D. La. 2016), aff’d sub nom. Monumental Task Comm., Inc.

v. Chao, 678 F. App’x 250 (5th Cir. 2017); see, e.g., Cronin v. USDA, 919

F.2d 439, 446 (7th Cir. 1990). And because they are tantamount to

preliminary injunctions, § 705 stays are appealable just as preliminary

injunctions are. See Wyoming v. U.S. Dep’t of Interior, 2018 WL

2727031, at *1 (10th Cir. June 4, 2018) (“The district court’s ‘stay’

effectively enjoins enforcement of the Rule.”); see also Abbott v. Perez,

138 S. Ct. 2305, 2319-20 (2018) (explaining that “practical effect” test of

28 U.S.C. §§ 1292(a)(1) and 1293 “prevents [the] manipulation” that

could occur “if the availability of interlocutory review depended on the

district court’s use of the term ‘injunction’”); Aberdeen & Rockfish R.R.

v. Students Challenging Regulatory Agency Procedures (SCRAP), 422

U.S. 289, 307, 308 n.11 (1975). In any event, the government would be

entitled to mandamus relief.




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      In their accompanying motion to dismiss, plaintiffs invoke Nken v.

Holder, 556 U.S. 418 (2009), for the proposition that stays and

injunctions are distinct. But Nken did not address the scope of

§ 1292(a)(1); nor did it involve a § 705 stay. It addressed whether a stay

of a removal order pending judicial review is an injunction against “the

removal of any alien” within the meaning of a provision, 8 U.S.C.

§ 1252(f)(2), that limits such injunctions. That holding turned on the

text, structure, and context of the statute at issue, see 556 U.S. at 428-

433, none of which matters here. And even under Nken’s framework,

the district court’s order is an injunction because it does not merely

“suspend[] ... the order or judgment in question”; rather, it radically

upends the status quo. Id. at 428-429. The district court certainly

understood its order to have the practical effect of an injunction.

Add.65-66.

II.   Plaintiffs Lack Standing And Their Central Claims Are
      Time-Barred

      1. Plaintiffs lack standing because their assertions of harm rest

on layer upon layer of speculation. Stay Mot. 6-9. Plaintiffs claim (at

10-11) that their sporadic examples of allegedly treating patients for

past complications establish their standing. But the Supreme Court

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has made clear that past harm is insufficient to establish standing to

seek prospective injunctive relief. In Summers v. Earth Island Institute,

555 U.S. 488 (2009), an environmental association challenged

regulations facilitating fire-rehabilitation and timber-salvage projects.

At least one of the association’s members had been harmed by a past

timber-salvage project, and the association claimed that its members

would be harmed by projects in the future. Id. at 495. The Court held,

however, that past harm “does not suffice” to show standing in part

“because it relates to past injury rather than imminent future injury

that is sought to be enjoined.” Id. at 495-96. So too here: Plaintiffs

have not identified any particular physician who faces “certainly

impending” rather than “possible” future injury sufficient to show

injury-in-fact. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013).

     Plaintiffs also claim (at 8-9) that they have organizational

standing because they have “diverted valuable resources” to promote

their mission. But surely the same was true of the environmental

association in Summers. Plaintiffs offer no limiting principle for their

boundless theory of standing, which would entitle any organization to

seek judicial review of any governmental action it opposes. Stay Mot. 7-


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8. And their theory of third-party standing (at 11-12) is entirely

divorced from any injury-in-fact suffered by plaintiffs. Stay Mot. 8-9.

     2. Plaintiffs’ central claims are also time-barred. Stay Mot. 10-14.

Plaintiffs contend that FDA reopened the approval of mifepristone, but

they cite no case applying the reopening doctrine under similar

circumstances. Plaintiffs rely (at 14) on Sierra Club v. EPA, 551 F.3d

1019 (D.C. Cir. 2018), but that case is inapposite; that framework

applies only where the original rule “may not have been worth

challenging” on its own. Id. at 1025-26. Plaintiffs did challenge FDA’s

original approval of mifepristone but failed to timely seek judicial

review of FDA’s denial of that challenge. And while plaintiffs defend (at

14) the district court’s sua sponte application of equitable tolling, they

make no attempt to reconcile it with controlling precedent or to explain

why they did not meet the generous six-year limitations period. Stay

Mot. 13-14.

III. Mifepristone Is Safe When Used Under Its Approved
     Conditions Of Use

     The available evidence overwhelmingly shows that mifepristone is

safe under the approved conditions of use, underscoring the speculative

nature of plaintiffs’ claims. Stay Mot. 14-16. “A reviewing court must

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be ‘most deferential’ to the agency where, as here, its decision is based

upon its evaluation of complex scientific data within its technical

expertise.” Sierra Club v. EPA, 939 F.3d 649, 680 (5th Cir. 2019).

Plaintiffs’ unsubstantiated factual claims, adopted by the district court,

offer no basis to override FDA’s considered scientific judgment.

     1. At the outset, plaintiffs suggest (at 2, 22) that FDA’s findings

should be overturned even without evidence that mifepristone is unsafe.

In their view, because FDA changed the reporting requirements for

certified prescribers in 2016, the true frequency of adverse events is

higher than the data show. But FDA made those changes after fifteen

years of adverse event data that showed “known risks occurring rarely.”

Add.856. By that point, mifepristone’s “well-characterized safety

profile” was firmly established. Id. Serious adverse events were

“exceedingly rare,” as demonstrated by eleven different studies and

data from “well over 30,000 patients.” Add.707, 710. And while FDA

changed the reporting requirements for certified prescribers to report

certain adverse events to the sponsors, it did not eliminate them. FDA

still requires prescribers to report any deaths. And as FDA requires for

all drug sponsors, “serious and unexpected” adverse events must be


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reported to FDA within 15 days, and all other adverse events must be

reported annually. See 21 C.F.R. §§ 314.80, 314.98.

     2. It is thus unsurprising that none of the studies invoked by

plaintiffs concludes that mifepristone is unsafe. Plaintiffs (at 18, 27)

embrace the district court’s reliance on a 2009 study purportedly

showing that mifepristone has a higher rate of adverse events than

surgical abortion. But that study found that both abortion methods

“are generally safe” (as did a 2011 study by the same author) with low

overall rates of serious adverse events, and it ultimately recommended

informing women about their options so they can make their own

choices regarding the best medical treatment for them. See Add.873

(discussing 2009 Niinimaki study); see also ECF 8, Preliminary

Injunction App. (PI.App.) 422 (2011 Niinimaki study). Noting that

medication and surgical abortion each have “benefits, side effects, and

potential complications,” FDA also concluded that “[p]atients and their

healthcare providers should discuss which method is preferable and

safer according to each woman’s unique situation.” Add.874.

     Plaintiffs also note (at 18-19, 27) that the district court relied on

several studies from the 1990s, but those studies have minimal


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relevance in light of more recent and comprehensive studies and

decades of clinical experience. For example, other studies examined by

the agency identified “no difference in major adverse events” between

mifepristone and surgical abortion. Add.873-74 (discussing 2015

Ireland study); Add.874 (for 2018 Carlsson study, “no statistically

significant difference between the overall complication rates between an

‘at home’ and ‘at the hospital’ abortion”).

     Similarly, plaintiffs cite (at 27) the court’s reliance on two studies

that are outside the administrative record; neither shows that

mifepristone is unsafe. See PI.App.418 (acknowledging that the 2021

Studnicki study was based on Medicaid claims data that were subject to

inconsistencies); PI.App.431 (finding in the 2022 Studnicki study that

“[w]omen experiencing chemical abortion and a subsequent emergency

room (ER) visit within 30 days were less likely … to be hospitalized for

any reason in that same time period than women who had experienced

surgical abortion.” (emphasis added)).*



     *
       While the 2021 Studnicki study found a higher rate of emergency
room visits following medication versus surgical abortion, the overall
rate for both methods was low. See PI.App.413. Moreover, other
studies have found lower rates of emergency room visits, underscoring

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     Plaintiffs further claim (at 27) that mifepristone causes

psychological harms, citing the district court’s reliance on anonymous

blog posts. Those blog posts provide no basis to overturn FDA’s

scientific judgments. Stay Mot. 16. Plaintiffs also rely (at 28) on an

amicus brief that, like the district court, cited two other articles about

mental health (one by Priscilla Coleman in 2011 and one by David

Reardon in 2002), but those articles did not even purport to evaluate

mifepristone’s effect on women. They compared outcomes between

women who obtained abortions (by any method) and women who gave

birth, thus providing no suggestion that all women would be better

served by surgical versus medication abortion.

     3. Finally, plaintiffs rely on risks from using mifepristone in ways

that FDA has not approved. For example, they claim (at 28) that

women have been harmed by using mifepristone to abort viable fetuses.

Plaintiffs likewise rely on studies that found various adverse events




the importance of limiting judicial review to the administrative record
that reflects FDA’s evaluation of all evidence before the agency. E.g.,
Add.715-16 (discussing 2015 Ireland study, which reported 0.1% of
women experienced a “major complication,” defined to include
“emergency department presentation” or “hospitalization,” among other
things).
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associated with using mifepristone during the second trimester. E.g.,

Add.734-35 (discussing 2011 Niinimaki study, which studied use of

mifepristone up to 20 weeks’ gestation). FDA has approved

mifepristone as safe and effective for use only through 10 weeks’

gestation. The cited risks associated with using mifepristone after 10

weeks do not justify withdrawing FDA’s approval of the drug for use

through 10 weeks.

      Any drug can be unsafe when not used in accordance with its

labeling. Obvious harms such as addiction or overdose can follow from

misuse of pain management drugs, but those drugs have important uses

for patients recovering from surgery, undergoing cancer treatment, and

otherwise. The fact that someone could be harmed by consuming an

entire bottle of Tylenol does not mean that no one should have access to

Tylenol.

IV.   The Equities Overwhelmingly Favor A Stay

      The governmental and public interests also overwhelmingly favor

a stay. Mot. 25-28. Effectively requiring Danco Laboratories and

GenBioPro to cease distribution of mifepristone after more than two

decades would upend the status quo, severely harming women,


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healthcare systems, and the public. Doctors have explained that

mifepristone is “part of the standard of care” for “gynecological

procedures, obstetric care, medication abortion, and miscarriage

management,” such that “withdrawal of mifepristone will have far

reaching impacts on reproductive health, medical ethics, and patient

autonomy.” Amicus Br. of Physicians for Reproductive Health 2-3; see

also Amicus Br. of Doctors for America and the Reproductive Health

Coalition 8-17; Amicus Br. of Over 100 Reproductive Health, Rights,

and Justice Organizations 10-19; Amicus Br. of NAACP Legal Defense

and Educational Fund, Inc. 8-20; Amicus Br. of Medical and Public

Health Societies 15-22.

      These harms would be felt in every State. Nearly half of the

States caution that the court’s order would have “devastating

consequences” for their citizens and healthcare systems and undermine

their substantial reliance interests. Amicus Br. of New York, et al., 6-

14. Dozens of local governments highlight similar harms. Amicus Br.

of Local Governments 1-2, 15-16; Amicus Br. of City of New York, et al.,

1-28. Contrary to plaintiffs’ suggestion (at 1), this is not truly a political

divide: Mifepristone has lawful uses in every State. In this Circuit, for


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instance, mifepristone may be used for abortions that are lawful under

each State’s laws. See Add.274-77; e.g., Tex. Health & Safety Code

§ 170A.002(b) (permitting abortion in cases of certain health risks); La.

R.S. §§ 40:1061(I), 14:87.1(1)(b)(vi) (permitting abortion if the fetus is

not expected to survive); Miss. Code Ann. §§ 41-41-34.1, 41-41-45(2)

(permitting abortion in certain cases of rape).

     Furthermore, as more than 400 members of the biopharmaceutical

industry have warned, the court’s order puts “an entire industry focused

on medical innovation at risk.” In Support of FDA’s Authority to

Regulate Medicines, https://perma.cc/ZF96-ZTHH. By setting “a

precedent for diminishing FDA’s authority over drug approvals,” the

order “creates uncertainty for the entire biopharma industry.” Id. “If

courts can overturn drug approvals without regard for science or

evidence, or for the complexity required to fully vet the safety and

efficacy of new drugs, any medicine is at risk for the same outcome as

mifepristone.” Id.; see also Amicus Br. of Pharmaceutical Companies,

Executives & Investors 9-25 (highlighting the “ripple effects” of the

court’s approach that would “delay patient access to life-saving

medications” and “discourage development in the first instance”);


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Amicus Br. of 240 Members of Congress 15 (“The consequences of the

district court’s remedy could extend far beyond mifepristone, for it

undermines the science-based, expert-driven process that Congress

designed for determining whether drugs are safe and effective.”).

                            CONCLUSION

     The Court should immediately extend the administrative stay and

then stay the district court’s order pending appeal.



                                       Respectfully submitted,

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APRIL 2023


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                       CERTIFICATE OF SERVICE

     I hereby certify that, on April 12, 2023, I electronically filed the

foregoing motion with the Clerk of the Court by using the appellate

CM/ECF system. I further certify that the participants in the case are

CM/ECF users and that service will be accomplished by using the

appellate CM/ECF system.

                                          /s/ Cynthia A. Barmore
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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this reply complies with the requirements of

Federal Rule of Appellate Procedure 27(d) because it has been prepared

in 14-point Century Schoolbook, a proportionally spaced font. I further

certify that this reply complies with the type-volume limitation of

Federal Rule of Appellate Procedure 27(d)(2) because it contains 2,554

words according to the count of Microsoft Word.

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